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AKER KVARNER | IHI

02 December 2009 Cameron LNG, LLC Project
AK|IHI Job No. HO403800 / 5021-430
Response Required: Yes

Greg Presswood

McLarens Young International
Executive General Adjuster
Vice President/Branch Manager
10235 W. Little York, Suite 170
Houston, TX 77040-3253

Your Ref.:
Our Ref: AK|IHI-TP-0100

Your Insured: Aker Kvaemer|lHI
Insurers/Policy: National Union Fire Insurance Company of Louisiana — ST-260-9712

AEGIS Insurance Services, Ltd. - L0022B1A05

Allianz Global Risk US Insurance Company — ATO 3006580
Commonwealth Insurance Company — NME1128

Navigators Special Risk, Inc. - 05-NSRO-1045-01

Arch Speciality insurance Company — CAR0003887-00

Policy Period: September 15, 2005 — August 4, 2009

Dear Greg:

| am writing in response to your letter dated October 27, 2009.

Unaliocated Advance Payment

AK|IHI has received payment of $4.5 million of the $6 million unallocated advance payment by
Insurers. We understand that Insurers will be paying the $1.5 million balance shortly.

Dredging Analysis by insurers’ Hydrology Consultant

Your letter indicates that the portion of the claim related to dredging is under review by Christopher
Burke Engineering, Ltd. and that you were pushing to have this review completed (before the end of
November 2009). We appreciate your pushing for completion of that review. However, since we
have not yet heard from Insurers regarding the dredging claim, we would request that you provide
us with another update at your earliest convenience.

Your letter cites to a reference to a “period of seventy-two consecutive hours’ in the definition of
“Occurrence” in the CAR Policy and then states: “[i]t does not appear from the present dredging
claim submission that [the seventy-two (72) hour clause] has been “taken into account.” Insurers
apparently concluded that AKjIHI did not consider the 72-hour clause because the dredging claim
“resulted in whole or in part from silting that occurred over a period of months.”

 

AKERKVERNER | IHI
3600 Briarpark Drive Tel: (713) 988-2002
Houston, Texas 77042 Fax: (713) 772-4673 i

EXHIBIT

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02 December 2009
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AKIIHI respectfully disagrees that it failed to take into account the 72-hour clause in connection with
the submission of the dredging claim. As AK|IHt understands the 72-hour clause, it deems that
there is “a single occurrence” for “all Damage” occurring during a 72-hour period “caused by named
windstorm, tempest, flood or earth movement.’ AK|IHI further understands that, by deeming a
single occurrence in those circumstances, the 72-hour clause makes clear that there is only one
occurrence (and only one deductible) when two or more covered risks combine to cause loss during
a 72-hour period. In this case, Insurers have agreed that there is only one occurrence relating to
Hurricane Ike and, as such, there is no dispute over the 72-hour clause.

AKIIHI's dredging claim is based on silting that was caused by Hurricane Ike. The definition of
“Occurrence” does not limit coverage for AK|IHI’s dredging claim to silting in a 72-hour period
caused by Hurricane Ike. Instead, AK|IHI believes it is entitled to coverage for any and all silting
caused by Hurricane Ike whether or not that silting occurred during or after any 72-hour period.

With regard to the statements in your letter that “extensions of the dredge disposal pipeline lease
and attorneys’ fees related to these extensions" are “consequential losses not covered by the
Policy,” AK|IH! does not agree. Rather, AKIIHI believes those costs are covered because they were
incurred to replace, repair or make good Insured Property that was damaged by Hurricane Ike.

Consequential Loss

The narrative and table on pages 3 and 4 of your letter address various change orders that you
assert are “consequential loss and are therefore not covered by the Policy.” Again, AK|IHI does not
agree with those assertions. Rather, AK|IHI believes that all of the change orders discussed in your
letter are costs incurred by AKJIHI to repiace, repair or make good Insured Property that was
damaged by Hurricane Ike and, as such, are covered under the Policy.

Finally, we are in the process of reviewing the specific information referenced in your letter and/or
contained in the spreadsheet that Insurers provided during the October 13, 2009 meeting. As
necessary, AK|IHI will respond to that information in detail once that review is completed.

Neither this correspondence nor AK{/HI's on-going review of information you have provided waives
any rights of AKIIHI under the Policy, at law, in equity, or otherwise, all such rights continuing to be
expressly reserved.

Sincerely,

ete ks

Business/Risk Manager

cc: H. Suzuki; M. Schioz; T. Santoro

 

AKIIHI
